      Case 24-14494-amc                     Doc 10 Filed 12/20/24 Entered 12/21/24 00:36:39                                              Desc Imaged
                                                 Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 24-14494-amc
Jordan R Pearce                                                                                                        Chapter 7
Albert C Pearce
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 18, 2024                                               Form ID: 309A                                                             Total Noticed: 28
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 20, 2024:
Recip ID                 Recipient Name and Address
db/jdb                 + Jordan R Pearce, Albert C Pearce, 425 S. Broad StreetApt. 2F, Philadelphia, PA 19147-1120
14961013               + 427 South Broad Street Associates, LLC, c/o Keller Williams Philly, 3310 S 20th Street, Philadelphia, PA 19145-5764
14961018               + American Education Services, Attn: Bankruptcy, PO Box 1200N, Harrisburg, PA 17108

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: brad@sadeklaw.com
                                                                                        Dec 19 2024 00:20:00      BRAD J. SADEK, Sadek Law Offices, LLC, 1500
                                                                                                                  JFK Boulevard, Ste 220, Philadelphia, PA 19102
tr                     + EDI: QLEFELDMAN.COM
                                                                                        Dec 19 2024 05:14:00      LYNN E. FELDMAN, Lynn E. Feldman, Trustee,
                                                                                                                  2310 Walbert Ave, Ste 103, Allentown, PA
                                                                                                                  18104-1360
smg                       Email/Text: megan.harper@phila.gov
                                                                                        Dec 19 2024 00:20:00      City of Philadelphia, City of Philadelphia Law
                                                                                                                  Dept., Tax Unit/Bankruptcy Dept, 1515 Arch
                                                                                                                  Street 15th Floor, Philadelphia, PA 19102-1595
smg                       EDI: PENNDEPTREV
                                                                                        Dec 19 2024 05:14:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
smg                       Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Dec 19 2024 00:20:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
ust                    + Email/Text: ustpregion03.ph.ecf@usdoj.gov
                                                                                        Dec 19 2024 00:20:00      United States Trustee, Office of United States
                                                                                                                  Trustee, Robert N.C. Nix Federal Building, 900
                                                                                                                  Market Street, Suite 320, Philadelphia, PA
                                                                                                                  19107-4202
14961014                  Email/Text: bncnotifications@pheaa.org
                                                                                        Dec 19 2024 00:20:00      Aes/ecmc, Attn: Bankruptcy, PO Box 2461,
                                                                                                                  Harrisburg, PA 17105-2461
14961016                  Email/PDF: AffirmBKNotifications@resurgent.com
                                                                                        Dec 19 2024 00:46:10      Affirm, Inc., Attn: Bankruptcy, 650 California St,
                                                                                                                  Fl 12, San Francisco, CA 94108-2716
14961015                  Email/PDF: AffirmBKNotifications@resurgent.com
                                                                                        Dec 19 2024 00:31:15      Affirm, Inc., 650 California St, Fl 12, San
                                                                                                                  Francisco, CA 94108-2716
14961017                  Email/Text: bncnotifications@pheaa.org
                                                                                        Dec 19 2024 00:20:00      American Education Services, PO Box 61047,
                                                                                                                  Harrisburg, PA 17106-1047
14961019                  Email/PDF: bncnotices@becket-lee.com
                                                                                        Dec 19 2024 00:32:55      Amex, PO Box 981537, El Paso, TX 79998-1537
14961020                  Email/Text: servicing@climbcredit.com
                                                                                        Dec 19 2024 00:20:00      Climb Credit, 6543 Las Vegas Blvd S, Las Vegas,
                                                                                                                  NV 89119-3223
14961021                  Email/Text: ElectronicBkyDocs@nelnet.studentaid.gov
                                                                                        Dec 19 2024 00:20:00      Dept of Education/Neln, PO Box 82561, Lincoln,
                                                                                                                  NE 68501-2561
14961023                  Email/Text: GSBankElectronicBankruptcyNotice@gs.com
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District/off: 0313-2                                              User: admin                                                             Page 2 of 2
Date Rcvd: Dec 18, 2024                                           Form ID: 309A                                                         Total Noticed: 28
                                                                                   Dec 19 2024 00:20:00     Goldman Sachs Bank USA, Attn: Bankruptcy, PO
                                                                                                            Box 70379, Philadelphia, PA 19176-0379
14961022                 Email/Text: GSBankElectronicBankruptcyNotice@gs.com
                                                                                   Dec 19 2024 00:20:00     Goldman Sachs Bank USA, PO Box 6112,
                                                                                                            Philadelphia, PA 19115-6112
14961024              + EDI: IRS.COM
                                                                                   Dec 19 2024 05:14:00     Internal Revenue Service, P.O. Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
14961026                 EDI: JPMORGANCHASE
                                                                                   Dec 19 2024 05:14:00     Jpmcb, MailCode LA4-7100, 700 Kansas Ln,
                                                                                                            Monroe, LA 71203-4774
14961025                 EDI: JPMORGANCHASE
                                                                                   Dec 19 2024 05:14:00     Jpmcb, PO Box 15369, Wilmington, DE
                                                                                                            19850-5369
14961027                 Email/PDF: bankruptcy_prod@navient.com
                                                                                   Dec 19 2024 00:31:05     Navient, PO Box 9655, Wilkes Barre, PA
                                                                                                            18773-9655
14961028              + EDI: SYNC
                                                                                   Dec 19 2024 05:14:00     Syncb/Venmo, PO Box 71737, Philadelphia, PA
                                                                                                            19176-1737
14961029              + EDI: SYNC
                                                                                   Dec 19 2024 05:14:00     Synchrony/Paypal Credit, PO Box 71727,
                                                                                                            Philadelphia, PA 19176-1727
14961031                 Email/Text: bankruptcy@ufcu.org
                                                                                   Dec 19 2024 00:20:00     University Federal Credit Union, Attn:
                                                                                                            Bankruptcy, PO Box 9350, Austin, TX
                                                                                                            78766-9350
14961030                 Email/Text: bankruptcy@ufcu.org
                                                                                   Dec 19 2024 00:20:00     University Federal Credit Union, PO Box 9350,
                                                                                                            Austin, TX 78766-9350
14961032                 EDI: LCIUPSTART
                                                                                   Dec 19 2024 05:14:00     Upstart, PO Box 61203, Palo Alto, CA
                                                                                                            94306-6203
14961033                 EDI: LCIUPSTART
                                                                                   Dec 19 2024 05:14:00     Upstart Finance, 2 Circle Star Way, San Carlos,
                                                                                                            CA 94070-6200
14961034                 EDI: LCIUPSTART
                                                                                   Dec 19 2024 05:14:00     Upstart Finance, Attn: Bankruptcy, PO Box 1503,
                                                                                                            San Carlos, CA 94070-7503

TOTAL: 26


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 20, 2024                                         Signature:          /s/Gustava Winters
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Information to identify the case:

Debtor 1:
                      Jordan R Pearce                                            Social Security number or ITIN:   xxx−xx−6096
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:             Albert C Pearce                                            Social Security number or ITIN:   xxx−xx−7673
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

United States Bankruptcy Court:        Eastern District of Pennsylvania          Date case filed for chapter:           7   12/17/24

Case number:           24−14494−amc

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               10/20
**Debtor's Photo ID & Social Security Card must be presented to the Trustee prior to the 341 meeting.**

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Jordan R Pearce                                      Albert C Pearce

2.        All other names used in the aka Jordan Roy Davis
          last 8 years

3.      Address                                  425 S. Broad StreetApt. 2F                           425 S. Broad StreetApt. 2F
                                                 Philadelphia, PA 19147                               Philadelphia, PA 19147

4.      Debtor's attorney                        BRAD J. SADEK                                        Contact phone 215−545−0008
                                                 Sadek Law Offices, LLC
        Name and address                         1500 JFK Boulevard                                   Email: brad@sadeklaw.com
                                                 Ste 220
                                                 Philadelphia, PA 19102

5.      Bankruptcy trustee                       LYNN E. FELDMAN                                      Contact phone 610−530−9285
                                                 Lynn E. Feldman, Trustee
        Name and address                         2310 Walbert Ave                                     Email: trustee.feldman@rcn.com
                                                 Ste 103
                                                 Allentown, PA 18104
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                      Certificate of Notice Page 4 of 4
Debtor Jordan R Pearce and Albert C Pearce                                                                           Case number 24−14494−amc


6. Bankruptcy clerk's office                    900 Market Street                                             Hours open:
                                                Suite 400                                                     Philadelphia Office −− 9:00 A.M. to
    Documents in this case may be filed at this Philadelphia, PA 19107                                        4:00 P.M; Reading Office −− 9:00
    address. You may inspect all records filed                                                                A.M. to 4:00 P.M.
    in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                              Contact phone (215)408−2800

                                                                                                              Date: 12/18/24


7. Meeting of creditors                           January 13, 2025 at 03:40 PM                                Location: The meeting is by
                                                                                                              Zoom. Go to Zoom.us, Click on
    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              JOIN or call 1 (267) 635−2246,
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Enter Meeting ID 338 913 1039,
    both spouses must attend. Creditors may                                                                   and Passcode 3443449121
    attend, but are not required to do so.        docket.
                                                                                                              For additional meeting info. go to
                                                                                                              https://www.justice.gov/ust/moc

8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 3/14/25
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov . If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
